                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                    No. 06-CR-162-LRR
 vs.
                                                                     ORDER
 LAMONT WILLIAM PAPAKEE and
 CONNIE FRANCES BLACKCLOUD,
                Defendants.
                                   ____________________

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                                 I. INTRODUCTION
      In this case, the court must decide whether the Meskwaki Settlement in Tama
County, Iowa (“Settlement”), is “Indian country,” as defined in 18 U.S.C. § 1151 and as
applied in the Indian Major Crimes Act, 18 U.S.C. § 1153. If the Settlement is not Indian
country, the court lacks jurisdiction to try Defendants LaMont William Papakee and
Connie Frances Blackcloud on various charges of sex abuse. In what follows, the court
holds that the Settlement is “Indian country.”
                         II. PROCEDURAL BACKGROUND
                                                                                       1
      Defendants are charged in a two-count Superseding Indictment (docket no. 39).
Count 1 charges that, on or about September 6, 2006, Defendants committed the crime of
Aggravated Sexual Abuse in Indian Country, in violation of 18 U.S.C. §§ 2, 1151, 1153
and 2241(a)(1). Count 2 charges Defendants with Sexual Abuse in Indian Country, on the
same date, in violation of 18 U.S.C. §§ 2, 1151, 1153 and 2242(2).
      On March 12, 2007, the court sua sponte directed the parties to brief whether the
court has criminal jurisdiction over Defendants. On March 19, 2007, the government and
Defendant Blackcloud jointly filed a Memorandum in Support of Federal Criminal
Jurisdiction. On the same date, Defendant Papakee filed a Brief Regarding Jurisdiction.
On March 21, 2007, the government filed a Supplemental Memorandum in Support of
Federal Criminal Jurisdiction.
      On March 22, 2007, the court held an evidentiary hearing (“Hearing”). Assistant
United States Attorneys Ian K. Thornhill and Robert M. Butler represented the
government. Attorney Renée V. Sneitzer represented Defendant Papakee, who was
personally present. Attorney Eric K. Parrish represented Defendant Blackcloud, who was


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         On December 7, 2006, Defendants were charged in a one-count Indictment
(docket no. 3) with Sexual Abuse in Indian Country, in violation of 18 U.S.C. §§ 2, 1151,
1153 and 2242(2). On March 7, 2007, the Superseding Indictment was filed.

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also personally present.
       At the Hearing, the court requested additional briefing. On March 29, 2007, the
government filed a Second Supplemental Memorandum in Support of Federal Criminal
Jurisdiction. On March 30, 2007, Defendant Papakee filed an Addendum Brief Regarding
Jurisdiction (“Defendant’s Addendum”). Defendant Blackcloud did not file a brief on
these two issues.
                        III. PRINCIPLES OF JURISDICTION
       “Federal courts are courts of limited jurisdiction, and the ‘threshold requirement in
every federal case is jurisdiction.’” Bradley v. Am. Postal Workers Union, AFL-CIO, 962
F.2d 800, 802 n.3 (8th Cir. 1992) (quoting Sanders v. Clemco Indus., 823 F.2d 214, 216
(8th Cir. 1987)). The court is “obliged to inquire sua sponte whenever a doubt arises as
to the existence of federal jurisdiction.” Mt. Healthy City Sch. Dist. Bd. of Ed. v. Doyle,
429 U.S. 274, 278 (1977).
                    A. 18 U.S.C. § 1153 (Indian Major Crimes Act)
       The government premises jurisdiction upon 18 U.S.C. § 1153, the Indian Major
Crimes Act. Section 1153(a) provides:
              Any Indian who commits . . . any of the following offenses,
              namely, murder, manslaughter, kidnapping, maiming, a felony
              under chapter 109A, incest, assault with intent to commit
              murder, assault with a dangerous weapon, assault resulting in
              serious bodily injury (as defined in section 1365 of this title),
              an assault against an individual who has not attained the age of
              16 years, felony child abuse or neglect, arson, burglary,
              robbery, and a felony under section 661 of this title within the
              Indian country, shall be subject to the same law and penalties
              as all other persons committing any of the above offenses,
              within the exclusive jurisdiction of the United States.

18 U.S.C. § 1153(a). Section 1153 “subject[s Defendants] to the same body of law as any
other individual, Indian or non-Indian, charged with [crimes] committed in a federal


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enclave,” United States v. Antelope, 430 U.S. 641, 648 (1977), provided that (1)
Defendants are “Indians”; (2) the crimes charged are enumerated in § 1153; and (3) the
alleged conduct occurred in “Indian country,” 18 U.S.C. § 1153.
       The parties agree that Defendants are “Indians” and are prepared to so stipulate at
trial. Further, the parties agree that Counts 1 and 2 of the Superseding Indictment charge
crimes that are enumerated in § 1153. Count 1 charges Aggravated Sexual Abuse, in
violation of 18 U.S.C. § 2241, and Count 2 charges Sexual Abuse, in violation of 18
U.S.C. § 2242(2). Each crime is “a felony under chapter 109A.” See, e.g., United States
v. Goodlow, 105 F.3d 1203, 1206 n.5 (8th Cir. 1997) (holding that § 2241 is “a felony
under chapter 109A”); Escalanti v. United States, No. 91-36163, 1992 WL 276977, *1
(Oct. 9, 1992) (stating that a crime is “a felony under chapter 109A” if it is in 18 U.S.C.
§§ 2241-2245). Therefore, the only disputed issue is whether the alleged conduct occurred
in “Indian country.”
                 B. 18 U.S.C. § 1151 (Definition of “Indian Country”)
       “Indian country” is defined in 18 U.S.C. § 1151. With some exceptions not
relevant here, § 1151 provides:
              [T]he term “Indian country” . . . means (a) all land within the
              limits of any Indian reservation under the jurisdiction of the
              United States Government, notwithstanding the issuance of any
              patent, and, including rights-of-way running through the
              reservation, (b) all dependent Indian communities within the
              borders of the United States whether within the original or
              subsequently acquired territory thereof, and whether within or
              without the limits of a state, and (c) all Indian allotments, the
              Indian titles to which have not been extinguished, including
              rights-of-way running through the same.

18 U.S.C. § 1151. Generally speaking, then, a crime occurs in “Indian country” if it
occurs on (1) an Indian reservation, (2) a dependent Indian community or (3) an Indian
allotment. Id.


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       The government contends that the Settlement is “Indian country,” because it is a “de
facto reservation.” The government’s theory of the case is that Defendants committed
Aggravated Sexual Abuse and Sexual Abuse, or aided and abetted the same, at the
Settlement address of “315 Red Earth Drive, Tama County, Iowa” (“315 Red Earth
Drive”). See generally United States v. Papakee, No. 06-CR-162-1-LRR, 2007 WL
891717 (N.D. Iowa Mar. 21, 2007) (describing government’s theory of the case).
Defendant Papakee argues that 315 Red Earth Drive is not Indian country.
                                 IV. JUDGE OR JURY
       Before addressing the merits of subject-matter jurisdiction, the court must decide
whether the court or the jury determines whether 315 Red Earth Drive is “Indian country.”
The parties agree that the government bears the burden to prove any jurisdictional facts
                             2
beyond a reasonable doubt.
       The government submits that the court may decide, as a matter of law, the limited
issue of whether the location of the alleged assault is “Indian country.” The government
contends that the jury’s role is simply to decide whether the assault, in fact, occurred at
such location. Defendant Papakee, on the other hand, contends that the jury must decide
this issue, because the jury must find that he committed all of the elements of the crimes
charged and that “the offense occurred in Indian country” is an element of both crimes.
The elements of Aggravated Sexual Abuse in Indian Country are:
              (1) the defendant did knowingly cause and attempt to cause
              another to engage in a sexual act, (2) by the use of force or
              threat of force, (3) the defendant is an Indian, and (4) the
              offense occurred in Indian [c]ountry.

United States v. Youngman, No. 06-2333, 2007 WL 957540, *4 (8th Cir. Apr. 2, 2007).
The elements of Sexual Abuse in Indian Country, as applied to the facts of this case, are:

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        As will become clear in Part V of this Order, the jurisdictional facts in this case
are undisputed.

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(1) the defendant did knowingly engage in a sexual act with another person, (2) who was
physically incapable of declining participation in, or communicating unwillingness to
engage in, that sexual act; (3) the defendant is an Indian; and (4) the offense occurred in
Indian country. 18 U.S.C. § 2242(2); accord 9th Cir. Crim. Jury Instr. No. 8.141 (Sexual
Abuse—Incapacity of Victim (18 U.S.C. § 2242(2)) (2003).
       In United States v. Stands, 105 F.3d 1565 (8th Cir. 1997), the Eighth Circuit Court
of Appeals held that “given a particular piece of land, it is for the court, not the jury, to
determine whether that land is in Indian country.” 105 F.3d at 1575 (citing, in part,
United States v. Deon, 656 F.2d 354, 356-57 (8th Cir. 1981) (holding that district court
properly found as a matter of law that the city of Pine Ridge, South Dakota was “Indian
country”) and United States v. Cook, 922 F.2d 1026, 1031-32 (2d Cir. 1991)). The jury
must then decide whether the charged crimes actually occurred on such land. Id. at 1576.
       Defendant Papakee argues that, in Apprendi v. New Jersey, 530 U.S. 466 (2000),
the Supreme Court implicitly abrogated Stands when it held that, “[o]ther than the fact of
a prior conviction, any fact that increases the penalty for a crime beyond the prescribed
statutory maximum must be submitted to a jury, and proved beyond a reasonable doubt.”
530 U.S. at 490. Defendant Papakee opines that, if he were convicted of similar conduct
in state court, he would, in the “worst case, [receive] an indeterminate sentence of between
ten (10) and twenty-five (25) years . . . .” Defendant’s Addendum at 2 (citing Iowa Code
§§ 709.3 (2005) (Sexual Abuse in the Second Degree), 709.4 (Sexual Abuse in the Third
Degree) and 902.9 (Maximum Sentence for Felons)). He claims he “potentially faces life
[in this case without the possibility of] parole.” Id. Defendant thus concludes that the
facts upon which this court’s jurisdiction is premised “increase[] the penalty for a crime
beyond the prescribed statutory maximum” and thus must be submitted to a jury. Id.
       The court does not read Apprendi as broadly as Defendant Papakee. Apprendi dealt
with the narrow issue of whether a judge may increase a criminal sentence beyond a


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statutory maximum based on facts that are not submitted to a jury and decided beyond a
reasonable doubt.    Apprendi, 530 U.S. at 469. The court does not read Apprendi to
require the jury to make what are, in essence, legal decisions about the status of land
whenever jurisdiction is in dispute. In any event, the facts upon which jurisdiction is
premised do not increase the penalty for “a crime” as contemplated in Apprendi. Rather,
such facts potentially increase the penalty for certain conduct, insofar as they determine
what crimes—federal or state—may be prosecuted. Cf. Antelope, 430 U.S. at 649
(upholding analogous equal protection challenge to the Indian Major Crimes Act, because
“[u]nder our federal system, the National Government does not violate equal protection
when its own body of law is evenhanded, regardless of the laws of the States with respect
to the same subject matter” (footnotes and citation omitted)).
      Accordingly, the court finds that the court, not the jury, must decide whether the
evidence shows beyond a reasonable doubt that 315 Red Earth Drive is “Indian country.”
                               V. FACTUAL FINDINGS
       At the Hearing, the government presented evidence to show that the Settlement,
                                                                                    3
which includes 315 Red Earth Drive, is “Indian country.” Based upon such evidence and
recognizing the Eighth Circuit Court of Appeals’ admonition that “‘[f]ederal Indian law
is a subject that cannot be understood if the historical dimension of existing law is
ignored,’” Sac & Fox Tribe of the Miss. in Iowa v. Licklider, 576 F.2d 145, 147 (8th Cir.
1978) (quoting United States v. Erickson, 478 F.2d 684, 686 (8th Cir. 1973)), the court
makes the following factual findings beyond a reasonable doubt:


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          At the Hearing, the court admitted Exhibits 4, 5, 8, 9, 10 and 11. The
government also offered Exhibits 1, 2, 3, 6 and 7, and Defendant Papakee offered two
exhibits, Exhibits A and B. Because the court shall hold that 315 Red Earth Drive is
“Indian country” without reliance on Exhibits 1, 2, 3, 6 or 7, the court need not decide
whether such exhibits are admissible. The court overrules the government’s relevancy
objections to Exhibits A and B.

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                         A. History of the Settlement to 1978
      In Licklider, the Eighth Circuit Court of Appeals summarized the history of the
Settlement as follows:
             [Before] 1700[,] the Sac and Fox Tribes were distinct separate
             tribes residing in what is now central Wisconsin. As a result of
             war between the Fox and the French in the early 18th Century,
             the Fox were reduced in number and formed a loose
             confederation with the Sac. By 1800[,] the Sac and Fox had
             established villages along the Mississippi River in what is now
             Iowa and Illinois. Hunting, fishing and trapping took them as
             far west as central Iowa.

             The Sac were first recognized by the United States in the
             Treaty of Jan[uary] 9, 1789, when the United States received
             the Sac into its friendship and protection. The Sac and Fox
             were jointly recognized in the Treaty of Nov[ember] 3, 1804,
             in which much of what later became Illinois, Wisconsin and
             Missouri was ceded to the United States in exchange for
             certain payments and guarantees. In a series of treaties from
             1804 through 1842, the Sac and Fox ceded other portions of
             their lands to the United States in exchange for payments,
             annuities and services.

             In 1842[,] the Sac and Fox Tribe ceded all its land west of the
             Mississippi River (which includes the [Settlement]) to the
             United States and agreed to move to a reservation located in
             what is now the state of Kansas. The move was to be
             accomplished within three years after the treaty date. Many
             members of the Fox Tribe and some members of the Sac Tribe
             who agreed to move to the reservation in Kansas pursuant to
             the 1842 treaty became dissatisfied with the Kansas reservation
             and returned to Iowa. In 1856[,] the Iowa legislature
             consented to the continued residence of the Sac and Fox then
             in Iowa and urged the United States to pay these Indians [(“the
             Tribe”)] their proportionate annuities under the various treaties
             with the Sac and Fox Tribe. The Tribe purchased a small tract
             of land in 1857 and title was taken by the governor of Iowa in
             trust for the Indians.

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              In 1865[,] the federal government sent an Indian agent to Iowa
              to supervise the Tribe. In 1867[,] Congress approved the
              payment of the 1842 treaty annuities to the Tribe in Iowa “so
              long as they are peaceful and have the assent of the
              government of Iowa to reside in that State.” Additionally[,] in
              1867[,] another treaty was negotiated with the Sac and Fox
              Tribe which required each absent member to move onto the
              reservation in the Indian Territory or lose his right to funds
              arising under all treaties with the Sac and Fox. The Tribe in
              Iowa was specifically exempted from this requirement.

              Between 1856 and 1896, the Tribe acquired more land in
              Tama County with funds generated through the sale of pelts
              and horses, charitable contributions, and treaty annuities. By
              1896, the governor of Iowa held the title to 2,720 acres of land
              in trust for the benefit of the Tribe. The Indian agent held the
              title to an additional 280 acres as trustee for the benefit of the
              Tribe.

              In 1896[,] Iowa tendered exclusive jurisdiction over the Tribe
              and their lands held in trust for them to the United States, with
              the following exception:

              Nothing contained in this act shall be so construed as to
              prevent on any of the lands referred to in this act the service
              of any judicial process issued by or returnable to any court of
              this state or judge thereof, or to prevent such courts from
              exercising jurisdiction of crimes against the laws of Iowa
              committed thereon either by said Indians or others, or of such
              crimes committed by said Indians in any part of this state.

              The United States accepted this tender . . . .
                                                            4
576 F.2d at 147-49 (citations and footnotes omitted).           As of 1978, the Settlement

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         The court takes judicial notice of facts of Licklider. See Stutzka v. McCarville,
420 F.3d 757, 760 n.2 (8th Cir. 2005) (stating that courts may take judicial notice of
judicial opinions and public records). For other judicial opinions that offer consistent
                                                                             (continued...)

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consisted of a 3000 acre tract in Tama County, Iowa, which was held in trust by the United
States for the use and benefit of the Tribe. Licklider, 576 F.2d at 147.
                                                                    5
                         B. History of the Settlement after 1978
       Since 1978, the Tribe has expanded the geographic area of the Settlement.
Periodically, the Tribe has purchased various tracts of land. Some of these tracts of land
are adjacent to the original Settlement boundaries, but others are not. After purchasing a
tract of land, the Tribe often—but not always—conveys such tract to the United States in
trust for the Tribe. Although the Tribe (as opposed to the United States) retains legal title
to some land, the legal status of such land is not at issue here.
                                                                          6
       In the 1990s, the Tribe purchased a tract of land (“Tract”) from two local

       4
       (...continued)
accounts of the history of the Settlement, see Sac & Fox Indians of the Miss. in Iowa v.
Sac & Fox Indians of the Miss. in Okla., 220 U.S. 481 (1910); Webster v. Reid, 52 U.S.
437 (1850); In re Lelah-puc-ka-chee, 98 F. 429 (N.D. Iowa 1899); State v. Lasley, 705
N.W.2d 481 (Iowa 2005); State v. Bear, 452 N.W.2d 430 (Iowa 1990).
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         The following factual findings are primarily based upon the various exhibits
received into evidence, as well as the testimony of Ms. Laura Kopsa, the Tama County
Auditor; Mr. Larry Lasley, the Tribe’s Executive Director and its former Housing
Director; and Mr. Kevin Bearquiver, Deputy Regional Director for Trust Services for the
Bureau of Indian Affairs’s Midwest Regional Office. All three individuals testified at the
Hearing, and their testimony was unrebutted. The court finds that the testimony of Ms.
Kopsa and Messrs. Lasley and Bearquiver is fully credible.
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           The legal description of the Tract is:

                The West Half of the West Half (W½ W½) of Section
                Eighteen (18); the Northwest Quarter of the Northwest Quarter
                (NW¼ NW¼), EXCEPT burying ground one (1) rod wide
                and two (2) rods long North and South; AND the North Half
                of the Southwest Quarter of the Northwest Quarter (N½
                SW¼ NW¼) of Section Nineteen (19), all in Township
                Eighty-three (83) North, Range 15, West of the 5th P.M., in
                                                                             (continued...)

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landowners. Specifically, on March 2, 1994, Lyle A. Holtz and Alice K. Holtz, husband
and wife, signed over the Tract to the Tribe by warranty deed, which was recorded on the
same date. Gov’t Ex. 4. The Tribe purchased the Tract to build a new school and to meet
the Tribe’s growing housing needs.
      The Tract is north of, and adjacent to, the original boundaries of the Settlement.
In 1995, the Tribe began the process of incorporating the Tract into the Settlement by
conveying the Tract to the United States in trust for the Tribe. On June 27, 1995, the
Tribe signed over the Tract by warranty deed “to The United States of America in Trust
for the Sac and Fox Tribe of the Mississippi in Iowa.” Gov’t Ex. 5 at 1. The latter
warranty deed was not recorded, however, until August 31, 1998. By its express terms,
the “conveyance [was] made pursuant to the Indian [R]eorganization Act of 1934 (48 Stat.
984).” Id.
                                      7
      Since at least August of 1998, then, the United States has continuously held title


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          (...continued)
                Tama County, Iowa;
                                          AND

               The Northeast Quarter (NE¼); the North Half of the Southeast
               Quarter (N½ SE¼); the East Half of the Southeast Quarter of
               the Southeast Quarter (E½ SE¼ SE¼); AND all that part of
               the West Half of the Southeast Quarter of the Southeast
               Quarter (W½ SE¼ SE¼), lying North of the public road,
               EXCEPT the West eight (8) rods thereof, all in Section
               Thirteen (13), Township Eighty-three (83) North, Range
               Sixteen (16), West of the 5th P.M., in Tama County, Iowa.

Gov’t Ex. 4 at 2; Gov’t Ex. 5 at 1.
      7
        In Iowa, “[a] conveyance by deed does not take place until the deed is delivered.”
Martin v. Martin, 720 N.W.2d 732, 735 (Iowa 2006). However, “[t]here is a longstanding
presumption that delivery occurs on the date the deed is signed.” Id. at 736; accord
                                                                            (continued...)

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to the entire Tract in trust for the Tribe. Once the Tract entered into this “trust status,”
the Tribe stopped paying state and local taxes on the Tract. The Tribe’s government
became responsible for the day-to-day civic needs (e.g., snow removal) of those persons
living on the Tract. The Tribe needs the approval of the United States, however, to enter
into leases or contracts on the Tract. In the words of Mr. Kevin Bearquiver, Deputy
Regional Director for Trust Services for the Bureau of Indian Affairs’s Midwest Regional
Office, the United States acts as “the superintendent of the land for the Tribe.”
       The Tribe eventually constructed a house on 315 Red Earth Drive. On February
2, 2002, the Tribe assigned the house to Defendant Papakee pursuant to tribal law. Gov’t
Ex. 10; see also Def’s Exs. A and B.
                                     VI. ANALYSIS
       As indicated, land is “Indian country” if it is part of (1) an Indian reservation, (2)
a dependent Indian community or (3) an Indian allotment. 18 U.S.C. § 1151. The Eighth
Circuit Court of Appeals has not explicitly addressed whether the Settlement is “Indian
                                                         8
country” for purposes of 18 U.S.C. §§ 1151 and 1153. The government and Defendant
Blackcloud submit that the Settlement is “Indian country,” because it is an “informal” or
“de facto reservation.” Whether land is “Indian country” is a question of federal law.



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        (...continued)
Klosterboer v. Engelkes, 125 N.W.2d 115, 119 (Iowa 1963) (“In the absence of evidence
to the contrary[,] a recorded deed is presumed to have been delivered on the date of its
execution and acknowledgment.”). Mr. Bearquiver testified that the United States
formally accepted the Tract into “trust status” on August 26, 1998, five days before the
warranty deed was recorded.
       8
        Prosecutions in this court under the Indian Major Crimes Act for crimes allegedly
committed on the Settlement are very rare. But see United States v. Butler, 56 F.3d 941
(8th Cir. 1995) (affirming convictions for violations of the Indian Major Crimes Act
without discussing jurisdiction, where the activity that provided the factual basis for the
defendant’s convictions occurred on the Settlement).

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Seymour v. Superintendent of Wash. State Penitentiary, 368 U.S. 351, 353 (1962).
                                     A. The Settlement
       1.     Informal reservation status
       The court holds that the Settlement is a “reservation” for purposes of § 1151. The
court recognizes that there is no indication that a specific treaty, statute or executive order
created a “reservation” in Tama County, Iowa for the Tribe. Licklider, 576 F.2d at 150.
“It is well established that the actions of the federal government in its treatment of Indian
land can create a de facto reservation, even though the reservation was not created by a
specific treaty, statute or executive order.” United States v. Azure, 801 F.2d 336, 338 (8th
Cir. 1986) (citations omitted).
       Construing § 1151, the Supreme Court has observed that “Congress has defined
Indian country broadly to include formal and informal reservations . . . .” Okla. Tax
Comm’n v. Sac & Fox Nation, 508 U.S. 114, 123 (1993). In other words, “the test for
determining whether land is Indian country does not turn upon whether that land is
denominated . . . “reservation” [but] . . . . whether the area has been validly set apart for
the use of the Indians as such, under the superintendence of the Government.” Okla. Tax.
Comm’n v. Citizen Band Potawatomi Indian Tribe of Okla., 498 U.S. 505, 511 (1991)
(citations and internal quotation marks omitted); South Dakota v. U.S. Dep’t of Interior,
475 F.3d 993, 999 (8th Cir. 2007) (“To determine whether land is categorized as . . .
‘reservation,’ the Court asks ‘whether the area has been validly set apart for the use of the
                                                                                           9
Indians as such, under the superintendence of the government.’” (Citation omitted.).

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         The Tenth Circuit Court of Appeals observed that, in Alaska v. Native Village of
Venetie, 522 U.S. 520 (1998), the Supreme Court collapsed any distinction between
informal “reservations” and “dependent Indian communities.” United States v. Roberts,
185 F.3d 1125, 1133 (10th Cir. 1999). The Tenth Circuit held, however, that de facto
or informal reservations “continue to exist under 18 U.S.C. § 1151 and Supreme Court
jurisprudence.” Roberts, 185 F.3d at 1133. The court predicts that the Eighth Circuit
                                                                          (continued...)

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       2.     Licklider
       In Licklider, the Eighth Circuit Court of Appeals held, albeit in a different context,
that the Settlement is a “reservation.” The Eighth Circuit Court of Appeals observed:
              It is clear from the treaty language that at least by 1845, when
              the Sac and Fox were required to be moved from the ceded
              land, no reservation existed in Iowa.

              It is equally clear, however, that as early as 1865 the United
              States began to treat the Tama tract occupied by the Tribe as
              a de facto reservation. For example, in 1865 the federal
              government sent a special Indian agent to Tama and
              established a special agency for the Tribe, which continues to
              the present date. In the Act of Mar[ch] 2, 1867, the United
              States approved the payment of the 1842 treaty annuities to the
              Tribe in Iowa. Furthermore, in the Treaty of Oct[ober] 4,
              1868, the tribal members living in Iowa were explicitly
              excepted from the requirement of rejoining the full Sac and
              Fox Tribe. From at least 1874, the Bureau of Indian Affairs
              expended money for the education of members of the Tribe,
              including the construction of a boarding school in Toledo,
              Iowa. These early actions by the federal government
              demonstrate that the United States recognized the Tribe in
              Iowa and dealt with them comparably to the Sac and Fox
              located on the Kansas reservation.


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         (...continued)
Court of Appeals would agree, because it very recently reaffirmed the reality of the
informal reservation. See South Dakota, 475 F.3d at 999. That said, if the Supreme Court
or Eighth Circuit Court of Appeals were to jettison the concept of the informal reservation
in order to restore a distinction between “reservations” and “dependent Indian
communities,” the Settlement is still “Indian country,” because it clearly meets Venetie’s
test for a “dependent Indian community.” See Roberts, 185 F.3d at 1133 (observing that
“[w]e need not further expound on the Supreme Court’s cases in this area because, no
matter which categorical label we choose to affix, the property in this case, owned by the
United States in trust for the Choctaw Nation, is Indian [c]ountry, particularly in light of
the district court’s findings the . . . property was validly set-aside for the tribe under the
superintendence of the federal government.”).

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              Any doubt was eliminated by the federal government in 1896,
              when the United States accepted and assumed “jurisdiction
              over the Sac and Fox Indians of Tama County” and their land.
                                            ....
              Since 1897, the Bureau of Indian Affairs has expended funds
              for the Tribe in the areas of social services, land management,
              employment assistance, health services, including water and
              sanitation, police services, and education.

              Finally, in . . . 1948, Congress specifically referred to the
              [Settlement] tract when it spoke of “offenses committed by or
              against Indians on the Sac and Fox Indian Reservation . . . .”

              The state argues that the Tama tract cannot be a reservation
              since no specific treaty, statute or executive order has created
              a reservation. However, as stated years ago by the Supreme
              Court:

                     [I]n order to create a reservation, it is not
                     necessary that there should be a formal cession
                     or a formal act setting apart a particular tract. It
                     is enough that from what has been done there
                     results a certain defined tract appropriated to
                     certain purposes.

              Thus, we are persuaded that the land located in Tama County
              and occupied by the Tribe constitutes an Indian reservation.

Licklider, 576 F.2d at 149-50 (citations omitted). Similarly, over 100 years ago, this court
reasoned:
              [I]t is contended the land occupied by [the Tribe] cannot be
              deemed to be an Indian reservation, because the title thereto is
              vested . . . in trust for the [Tribe], and was purchased by the
              [Tribe] after the admission of Iowa into the Union.
                                             ....
              [I]t must be held that the Indians residing in Tama county are
              tribal Indians residing on lands purchased for their benefit with
              the consent of the state, which lands constitute a reservation


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              under the control of the United States in all matters pertaining
              to the domestic relations of the Indians, and, furthermore, that
              their status as tribal Indians is not based upon the act of the
              general assembly of Iowa just cited, but grows out of the fact
              that they are a part of the confederated tribes of Sacs and
              Foxes, between whom and the national government the relation
              of wards or dependents had been recognized and existed long
              before the state of Iowa was organized, and which condition of
              dependency has never been changed by any act of the national
              government.

Peters v. Malin, 111 F. 244, 250-51 (C.C.N.D. Iowa 1901); see In re Lelah-puc-ka-chee,
98 F. 429, 432 (N.D. Iowa 1899) (“[I]t sufficiently appears that the reservation in Tama
county and the Indians living thereon are now committed to the care and control of the
United States government . . . .”). Because the Settlement is land set aside for the use of
the Indians as such, under the superintendence of the government, it is “Indian country.”
       3.    The Youngbear cases
       Another Eighth Circuit Court of Appeals case, Youngbear v. Brewer, 549 F.2d 74
(8th Cir. 1977) (“Youngbear III”), further supports the conclusion that the Settlement is
“Indian country.” A full understanding the importance of this decision requires some
discussion of two prior cases: State v. Youngbear, 229 N.W.2d 728 (Iowa 1975)
(“Youngbear I”) and Youngbear v. Brewer, 415 F. Supp. 807 (N.D. Iowa 1976)
(McManus, C.J.) (“Youngbear II”).
              a.     Youngbear I
       In 1974, a jury convicted Ellsworth Youngbear of murder for shooting Vincent
Lasley on the Settlement at the home of Clyde Papakee. Youngbear, 229 N.W.2d at 730-
31. On direct appeal to the Iowa Supreme Court, Youngbear argued that the Settlement
was “Indian country” as defined in § 1151. He further argued that State of Iowa lacked
the authority to prosecute him, because, he alleged, § 1153 vested exclusive jurisdiction
over crimes occurring in “Indian country” to the United States, if those crimes were


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specified in such statute. Youngbear, 229 N.W.2d at 732.
      The Iowa Supreme Court held that the Settlement is “Indian country.” Id. The
Iowa Supreme Court reasoned:
             ‘Indian [c]ountry’ within the meaning of the term used in [§
             1153] is defined in [§ 1151]. The application of the ‘Indian
             [c]ountry’ definition does not depend upon the manner in
             which the land in question was acquired, but rather on whether
             such land has been, as was the [Settlement] in this case, set
             apart for the use and occupancy of Indians. See United States
             v. McGowan, 302 U.S. 535 [(1938)]. We conclude the
             [Settlement] meets the statutory definition of ‘Indian [c]ountry’
             as construed by the courts.
Id. The Iowa Supreme Court affirmed Youngbear’s conviction, however, because it
further held that the Act of June 30, 1948, ch. 759, 62 Stat. 1161, granted federal courts
concurrent jurisdiction over the crimes enumerated in § 1153. Id. at 733.
             b.     Youngbear II
      Youngbear then sought a writ of habeas corpus in this court, on the ground that the
state courts did not have jurisdiction to try him for murder. This court granted the writ.
As a threshold matter, the court agreed that the Settlement was “Indian country.” The
court reasoned:
             [The S]ettlement is ‘Indian [c]ountry’ within [§ 1151]. The
             determination of whether lands are considered ‘Indian
             [c]ountry’ does not turn on the label used in designating them,
             United States v. McGowan, 302 U.S. 535 (1938), nor on the
             manner in which the lands in question were acquired. Rather
             the test is whether such lands have been set apart for the use,
             occupancy and protection of dependent Indian peoples. See
             McGowan, [302 U.S. at 538]. This court concurs with the
             Iowa Supreme Court [in Youngbear I] that under the principles
             espoused above, the [Settlement] meets the statutory definition
             of ‘Indian [c]ountry.’

Youngbear II, 415 F. Supp. at 809 (citations and footnote omitted). This court held,


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however, that jurisdiction over the offenses enumerated in § 1153 was vested exclusively
in the federal courts and thus the writ must be granted. Id. at 810.
              c.        Youngbear III
       The State of Iowa appealed this court’s decision to grant the writ of habeas corpus
to Youngbear. The Eighth Circuit Court of Appeals held that jurisdiction over crimes
committed in “Indian country” is exclusive and affirmed “on the basis of” this court’s
opinion. Youngbear III, 549 F.2d at 76. However, the Court did not explicitly address
the district court’s holding that the Settlement was “Indian country.”
              d.        The importance of the Youngbear cases
        Youngbear I and II support the court’s conclusion that the Settlement is “Indian
country,” insofar as both courts reached the same conclusion as the court does today. The
court recognizes, however, that neither decision is binding.
       Youngbear III is binding on this court, insofar as it is not inconsistent with Supreme
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Court precedent.         Even though the Eighth Circuit Court of Appeals did not explicitly
discuss whether the Settlement is as “Indian country,” it implicitly affirmed this court’s
decision that the Settlement is “Indian country” when it affirmed “on the basis of” this
court’s opinion. Indeed, the Eighth Circuit Court of Appeals’ decision in Youngbear III
requires a finding that the Settlement is “Indian country,” because without such a finding,
the decision would not make sense. In Youngbear III, the Eighth Circuit Court of Appeals


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          In Negonsott v. Samuels, 507 U.S. 99 (1993), the Supreme Court held that,
despite the seeming exclusivity of 18 U.S.C. § 1153, 18 U.S.C. § 3243 unambiguously
confers jurisdiction over the crimes that are enumerated in 18 U.S.C.§ 1153 to the State
of Kansas. 507 U.S. at 110. Because there are no material differences between Kansas
and Iowa in this respect, see Negonsott, 507 U.S. at 101 n.1 (citing Act of June 30, 1948,
ch. 759, 62 Stat. 1161), Negonsott abrogated Youngbear II and III and vindicated
Youngbear I. The Supreme Court did not disturb the unanimous agreement of both the
federal and the state courts in the Youngbear decisions that the Settlement is Indian
country.

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held that the state court did not have jurisdiction, because the federal court had exclusive
jurisdiction over the crimes enumerated in the Indian Major Crimes Act. As indicated, the
Indian Major Crimes Act only applies to offenses committed in “Indian country.” 18
U.S.C. § 1153.
         4.       Conclusion
         For all of the foregoing reasons, the court holds that the Settlement is “Indian
country,” as defined in § 1151 and as applied in § 1153.
                                      B. 315 Red Earth Drive
         Defendant Papakee contends that, even if the Settlement is “Indian country,” it does
not necessarily follow that 315 Red Earth Drive is “Indian country.” Defendant points out
that 315 Red Earth Drive is on the Tract and not within the original boundaries of the
Settlement.
         All of the evidence at the Hearing indicated that the Tract is part of the Settlement.
Therefore, 315 Red Earth Drive is “Indian country,” just as the rest of the Settlement is
“Indian country.” The Tract and the original Settlement are all part of the same de facto
“reservation.”
         Even if the Tract were somehow distinct from the original Settlement, 315 Red
Earth Drive is still “Indian country.” The uncontroverted evidence is that the Tract is
Indian “trust land,” that is, it is land acquired by the United States in trust for the Tribe
pursuant to the Indian Reorganization Act of 1934, 48 Stat. 984 (codified at 25 U.S.C. §
        11
465),        and 25 C.F.R. § 151.1 (2006), et seq. See Stands, 105 F.3d at 1572 (defining

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              Section 465 provides:

                  The Secretary of the Interior is hereby authorized, in his
                  discretion, to acquire, through purchase, relinquishment, gift,
                  exchange, or assignment, any interest in lands, . . . within or
                  without existing reservations, including trust or otherwise
                                                                                 (continued...)

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“[t]ribal trust land” as “land owned by the United States in trust for an Indian tribe”); 25
C.F.R. § 151.2(d) (defining “trust land” as “land the title to which is held in trust by the
United States for an individual Indian or a tribe”). In United States v. Azure, 801 F.2d
336 (8th Cir. 1986), the Eighth Circuit Court of Appeals held that Indian trust land, even
if not within the boundaries of a “reservation,” may nonetheless “be classified as a de
facto reservation, at least for purposes of federal criminal jurisdiction.” 801 F.2d at
   12
339 ; see also United States v. John, 437 U.S. 634, 649 (1978) (opining that there was
“no apparent reason” that trust lands “did not become a ‘reservation,’ at least for purposes


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             (...continued)
                  restricted allotments . . . for the purpose of providing land for
                  Indians.
                                                  ...
                  Title to any lands or rights acquired pursuant to sections . . .
                  465 [and others] shall be taken in the name of the United States
                  in trust for the Indian tribe or individual Indian for which the
                  land is acquired, and such lands or rights shall be exempt from
                  State and local taxation.

25 U.S.C. § 465.
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           There is some tension in the Eighth Circuit Court of Appeals’ precedents on this
issue, insofar as in Stands the Eighth Circuit Court of Appeals stated that “[f]or
jurisdictional purposes, tribal trust land beyond the boundaries of a reservation is
ordinarily not Indian country.” 105 F.3d at 1575 n.3. In other words, “the Eighth Circuit
has not always followed Azure, although it recognizes the precedent.” Roberts, 185 F.3d
at 1131 n.3 (10th Cir. 1999) (discussing Azure and Stands)). The court agrees with Judge
Schreier that the quoted language from Stands is “dicta which does not overcome the
wealth of legal authority establishing that trust land qualifies as ‘Indian country.’” State
of S.D. v. U.S. Dep’t of Interior, 401 F. Supp. 2d 1000, 1010 (D.S.D. 2005), aff’d, 475
F.3d 993 (8th Cir. 2007); see, e.g., Roberts, 185 F.3d at 1131 (stating categorically that
“lands owned by the federal government in trust for Indian tribes are Indian [c]ountry
pursuant to 18 U.S.C. § 1151”); Langley v. Ryder, 778 F.2d 1092, 1095 (5th Cir. 1985)
(“[W]hether lands are merely held in trust for the Indians or whether the lands have been
officially proclaimed a reservation, the lands are clearly Indian country.”).

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of federal criminal jurisdiction” (citing United States v. Celestine, 215 U.S. 278, 285
(1909)).
      Even if 315 Red Earth Drive is not a “reservation,” it is still “Indian country.” As
in Azure, such trust land can be considered a “dependent Indian community.” Land is part
of a “dependent Indian community” if it is (1) validly set aside for the use of Indians as
such and (2) under the superintendence of the government. Alaska v. Native Vill. of
                                                 13
Venetie Tribal Gov’t, 522 U.S. 526-32 (1998).         All of the evidence presented at the
Hearing fully supports both elements: 315 Red Earth Drive, as trust land, is validly set
aside for the use of Indians as such and is under the superintendence of the government.
See, e.g., McGowan, 302 U.S. at 538-39 (holding trust land met set-aside and
superintendency requirements); Roberts, 185 F.3d at 1132 (noting that “trust status can
demonstrate both federal set aside and superintendence”).
      Accordingly, the court holds that 315 Red Earth Drive is “Indian country.” 18
U.S.C. § 1151. At trial, the court shall instruct the jury as follows:
             The government must prove the alleged assault took place in
             Indian country. I instruct you now that the Settlement,
             including 315 Red Earth Drive, Tama County, Iowa, is in
             Indian country. Therefore, if you find beyond a reasonable
             doubt that the actions alleged occurred at 315 Red Earth Drive,
             Tama County, Iowa, this element of each of the charged
             offenses has been met.

Cf. United States v. Hernandez-Fundora, 58 F.3d 802, 809 (2d Cir. 1995) (following
United States v. Jones, 480 F.2d 1135, 1138-39 (2d Cir. 1973) (cited with approval in
Deon, 656 F.2d at 357)).


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          Venetie implicitly abrogated Azure’s four-factor test for determining whether a
particular area is a “dependent Indian community.” See Venetie, 522 U.S. at 531 n.7
(abrogating a six-factor test that, like Azure’s four-factor test, developed in part from
United States v. South Dakota, 665 F.2d 837, 839 (8th Cir. 1981)).

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                                 VII. DISPOSITION
      The Settlement, including 315 Red Earth Drive, is “Indian country” as defined in
18 U.S.C. § 1151. Accordingly, the court finds that it has jurisdiction over the crimes
alleged in the Superseding Indictment pursuant to the Indian Major Crimes Act, 18 U.S.C.
§ 1153.
      IT IS THEREFORE ORDERED:
      (1)    At trial, the court shall instruct the jury as set forth in Part VI.B of this
             Order;
             and
      (2)    The time between the filing of the court’s March 12, 2007 Order (docket no.
             44) and the date of the instant Order, up to thirty days, is hereby excluded
             from calculation under the Speedy Trial Act. See 18 U.S.C.§ 3161(h)(1)(J)
             (excluding “delay reasonably attributable to any period, not to exceed thirty
             days, during which any proceeding concerning the defendant is actually
             under advisement by the court”); further, the time between the filing of
             Defendant Papakee’s March 19, 2007 Brief Regarding Jurisdiction (docket
             no. 59), which the court construes as a pre-trial motion to dismiss for want
             of jurisdiction pursuant to Federal Rule of Criminal Procedure 12(b)(3)(B),
             and the instant Order, is also excluded from calculation under the Speedy
             Trial Act. See 18 U.S.C. § 3161(h)(1)(F) (excluding delay resulting from
             the filing of any pretrial motion through the conclusion of the hearing
             thereon and/or “other prompt disposition of, such motion”).




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   IT IS SO ORDERED.
   DATED this 2d day of May, 2007.




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